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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK


 NATIONAL RIFLE ASSOCIATION OF                        §
 AMERICA,                                             §
                                                      §
                Plaintiff,                            §
                                                      §   CIVIL CASE NO. 18-CV-00566-TJM-
 v.                                                   §   CFH
                                                      §
 ANDREW CUOMO, both individually and                  §
 in his official capacity; MARIA T. VULLO,            §
 both individually and in her official                §
 capacity; and THE NEW YORK STATE                     §
 DEPARTMENT OF FINANCIAL                              §
 SERVICES,                                            §
                                                      §
                Defendants.                           §

                  NATIONAL RIFLE ASSOCIATION OF AMERICA’S
                SECOND AMENDED COMPLAINT AND JURY DEMAND

       Plaintiff the National Rifle Association of America (the “NRA”) files this Second

Amended Complaint and Jury Demand (“Complaint”) against defendants New York Governor

Andrew Cuomo (“Cuomo”), both individually and in his official capacity; Maria T. Vullo

(“Vullo”), both individually and in her former official capacity; and the New York State

Department of Financial Services (“DFS”) (collectively, “Defendants”), upon personal knowledge

of its own actions, and upon information and belief as to all others matters, as follows:

                                                 I.

                                PRELIMINARY STATEMENT

       This case is necessitated by an overt viewpoint-based discrimination campaign against the

NRA and the millions of law-abiding gun owners that it represents. Directed by Governor Andrew

Cuomo and former DFS Superintendent Maria Vullo, this campaign involves selective

prosecution, backroom exhortations, and public threats with a singular goal – to deprive the NRA


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and its constituents of their First Amendment rights to speak freely about gun-related issues and

defend their Second Amendment freedoms against encroachment.

        Defendants’ retaliation and selective-enforcement campaign surfaced with a series of

threats to financial institutions that DFS, an agency created to ensure the integrity of financial

markets after the 2008 credit crisis, will exercise its extensive regulatory power against those

entities that have ties with the NRA. To commence their sweeping agenda, Defendants issued

public demands that put DFS-regulated institutions on notice that they should avoid “arrangements

with the NRA” and other “gun promotion organizations” if they planned to do business in New

York.

        At the same time, Defendants engaged in back-channel communications to reinforce their

threats. Thus, in a stunning display of unconstitutional overreach, Defendants made it clear to

banks and insurers that it is bad business in New York to do business with the NRA. Moreover,

Defendants knowingly targeted NRA-related insurance programs for violations not regularly

enforced and not enforced against other similarly situated insurance programs.

        As a direct result of this coercion, multiple financial institutions have succumbed to

Defendants’ threats and determined not to do business with the NRA. Others, who were already

doing business with the NRA yielded to Defendants’ demands and agreed to terminate

longstanding, beneficial business relationships with the NRA, in New York and elsewhere. Of

course, Defendants’ abuses were intended to deprive the NRA of basic bank-depository services,

corporate insurance coverage, and other financial services essential to the NRA’s corporate

existence and its advocacy mission.

        Absent relief, Defendants’ blacklisting campaign will continue to damage the NRA and its

members, as well as endanger the free speech and association rights guaranteed by the constitutions



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of the United States and the State of New York. It is well-settled that viewpoint discrimination

applied through “threat[s] of invoking legal sanctions and other means of coercion, persuasion,

and intimidation” violates the United States Constitution where, as here, such measures chill

protected First Amendment activities.1 Defendants’ de facto censorship scheme cannot survive

judicial scrutiny. Nor should it.

                                                   II.

                                              PARTIES

        1.        Plaintiff the National Rifle Association of America is a nonprofit corporation

organized under the laws of the State of New York with its principal place of business in Fairfax,

Virginia. The NRA is America’s leading provider of gun-safety and marksmanship education for

civilians and law enforcement. It is also the foremost defender of the Second Amendment to the

United States Constitution. The NRA has over five million members, and its programs reach

millions more.

        2.        Defendant New York State Department of Financial Services is an agency of the

State of New York that regulates financial services firms operating in New York in order to guard

against financial crises and to protect New York consumers and markets from fraud. DFS has a

regional office at One Commerce Plaza, Albany, New York 12257. Its main office is located at

One State Street, New York, New York 10004-1511. It regulates more than 1,400 insurance

companies with assets in excess of $4.3 trillion, including 200 life insurers, 1,100 property casualty

insurers, and 100 health insurance companies. DFS also regulates over 1,900 banking and other

financial institutions with assets over $2.9 trillion.




        1
            See, e.g., Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 72 (1963).


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        3.      Defendant Maria T. Vullo is the former Superintendent of the New York State

Department of Financial Services and, at all times relevant to the Complaint, was acting under

color of state law. Her principal place of business is 40 West 77th Street, Apt. 16B, New York,

New York 10024. Vullo is sued in her individual and official capacities.

        4.      Defendant Andrew Cuomo is the Governor of the State of New York and, at all

times relevant to the Complaint, was acting under color of state law. His principal place of business

is The State Capitol Building, Albany, New York 12224. Cuomo is sued in his individual and

official capacities.

                                                  III.

                                 JURISDICTION AND VENUE

        5.      Pursuant to 28 U.S.C. § 1331, the Court has subject matter jurisdiction over the

claims asserted in this action because this action involves claims based on the First and Fourteenth

Amendments to the United States Constitution (U.S. Const. amend. I, XIV), and because the action

seeks to prevent state officials from interfering with federal rights. Further, subject matter

jurisdiction is conferred on this Court by 28 U.S.C. § 1343(a)(3) because this action is brought to

redress deprivations under color of state law of rights, privileges, and immunities secured by the

United States Constitution. This Court has supplemental jurisdiction over all state-law claims

asserted in this action under 28 U.S.C. § 1367.

        6.      Pursuant to 28 U.S.C. § 1391(b), venue is properly vested in this Court because

defendant Cuomo resides in this judicial district.

        7.      There is a present and actual controversy between the parties.

        8.      The relief requested is authorized pursuant to 28 U.S.C. § 1343(a)(4) (recovery of

damages or equitable relief or any other such relief for the protection of civil rights), 28 U.S.C. §

1651(a) (injunctive relief), 28 U.S.C. §§ 2201 and 2202 (declaratory and other appropriate relief),

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42 U.S.C. § 1983 (deprivation of rights, privileges, and immunities secured by the Constitution),

and 42 U.S.C. § 1988 (awards of attorneys’ fees and costs).

                                               IV.

                           STATEMENT OF RELEVANT FACTS

A.     The NRA: History Of Dedicated Support For Gun Safety And A Commitment To
       Core Political Speech.

       9.      After the Civil War, two Union Army officers created a private association to

promote marksmanship among the citizenry. Many officers believed that the war would have

ended significantly sooner if the Union troops had been able to shoot as well as the Confederate

soldiers. Therefore, a group of them obtained a charter from the State of New York in November

of 1871; thereafter, the National Rifle Association built a proud legacy in the State of New York.

       10.     From the NRA’s inception, it received praise from the State of New York for its

many public contributions. In 1872, the New York State legislature and the NRA jointly dedicated

funds for the creation of a rifle range on Creed Farm, in what is now Queens Village, Queens, New

York. For many decades, the NRA partnered with the State to advance firearms safety, education,

conservation, and other laudable public policy goals. For example, when New York City public

schools sought to educate boys in marksmanship and gun safety, NRA co-founder Gen. George

Wingate designed and headed the resulting Public Schools Athletic League (PSAL) marksmanship

program.2 Likewise, in 1949, the NRA worked with the State of New York to create the nation’s

first hunter education program. Similar courses were subsequently adopted by state fish and game



       2
         See, e.g., STEVEN A. RIESS, SPORTS IN AMERICA FROM COLONIAL TIMES TO THE TWENTY-
FIRST CENTURY: AN ENCYCLOPEDIA 736 (Steven A. Riess ed., 2015); ROBERT PRUTER, THE RISE
OF AMERICAN HIGH SCHOOL SPORTS AND THE SEARCH FOR CONTROL, 1880-1930 122 (1st ed.
2013); Robert Pruter, Boys Rifle Marksmanship, ILLINOIS HIGH SCHOOL ASSOCIATION,
http://www.ihsa.org/archive/hstoric/marksmanship_boys.htm?NOCACHE=5:53:58%20PM (last
visited May 11, 2018).

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departments across the country and in Canada and help make hunting among the safest sports in

existence.

       11.      First among the “Purposes and Objectives” contained in the NRA’s bylaws is “[t]o

protect and defend the Constitution of the United States.” That is not surprising, because political

speech is a major purpose of the NRA, as it engages in extensive advocacy at all levels of

government to promote the rights of its members and all Americans.

       12.      The NRA spends tens of millions of dollars annually distributing pamphlets, fact

sheets, articles, electronic materials, and other literature to advocate for its views on the Second

Amendment and to assist NRA members engaging in national, state, and local firearm dialogue.

The NRA’s direct mail, television, radio, and digital communications seek to educate the public

about issues bearing on the Second Amendment, defend the NRA and its members against political

and media attacks, and galvanize participation in the political process by NRA members and

supporters.

       13.      To its critics, the NRA is best known as a “superlobby – one of the largest and most

truly effective lobbying organizations in the country,” able to mobilize its millions of members in

concerted efforts to protect the Second Amendment rights of all Americans.3 Of course, the NRA’s

letter-writing campaigns, peaceable public gatherings, and other grassroots “lobbying” activities

constitute precisely the type of political speech which rests “[a]t the core of the First Amendment.”4


       3
          CHRISTINA ROBB, HANDGUNS AND THE AMERICAN PSYCHE THE ATTEMPTED
ASSASSINATION OF A PRESIDENT BRINGS THE ISSUE INTO SHARP FOCUS ONCE AGAIN.
HANDGUNS – WHAT DO THEY MEANS TO AMERICANS? TO THE NRA, THEY ARE A
SYMBOL OF FREEDOM; TO THOSE FRIGHTENED OF CRIME, THEY REPRESENT SAFETY
– EVEN IF THE OWNER DOESN’T KNOW HOW TO USE THEM; TO GUN CONTROL
ADVOCATES, THEY ARE SYMBOLS OF ULTIMATE EVIL., BOSTON GLOBE, 1981 WLNR 68847
(June 7, 1981).
       4
           See Brown v. Hartlage, 456 U.S. 45, 52 (1982).


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B.     Cuomo’s Political Vendetta Against The NRA.

       14.     Andrew Cuomo has criticized the political speech and influence of “Second

Amendment types”5 generally, and the NRA specifically, for decades. In fact, Cuomo has a history

of abusing his regulatory power to retaliate against his political opponents on gun control issues.

       15.     The son of former Governor Mario Cuomo, Cuomo is a political opportunist who

consistently seeks to gain political capital by attacking the NRA. During his tenure as Housing and

Urban Development (“HUD”) Secretary in the 1990s, Cuomo famously coordinated a campaign

of lawsuits (nearly all dismissed) against gunmakers that purported to hold them liable for crimes

committed in public housing projects by criminals using illegally obtained firearms. Later, Cuomo

admitted that his real aim was to coerce, via settlement, the “voluntary” industrywide adoption of

certain equipment and sale restrictions, and warned that any manufacturer who refused to settle

would suffer “death by a thousand cuts.”6 Decried by even gun-control supporters as “wrong” and




       5
         On February 15, 2018, Cuomo appeared on the MSNBC program “The Beat,” where he
discussed championing legislation that some believed “trampled the Second Amendment.”
YOUTUBE, Gov. Andrew Cuomo On Background Checks: “Bunch Of Boloney” | The Beat With
Ari Melber | MSNBC, https://www.youtube.com/watch?v=Tz8X07fZ39o (last visited May 7,
2018). However, Cuomo lamented that his “favorability rating” had thereafter dropped due to
“backlash from conservatives and Second Amendment types.” Id.
       6
         Bill McAllister, Gun Industry Rejects Settlement Effort, THE DENVER POST (Feb. 1, 2000),
http://www.wagc.com/gun-industry-rejects-settlement-effort/.


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an abuse of agency authority,7 the HUD effort failed after the NRA and other pro-gun groups

organized legislative and grassroots opposition.8

       16.     Cuomo blamed “gun lobby extremists” for the collapse of his efforts at HUD.9 At

a press conference on June 20, 2000, he referred to gun-rights supporters as “the enemy,” and

announced a blueprint for defeating the NRA and its allies that would emphasize the use of state

and municipal retaliatory authority: “If we engage the enemy in Washington we will lose. They

will beat us in this town. They are too strong in this town. Their fortress is within the Beltway.

We're going to beat them state by state, community by community.”10

       17.     As governor of New York, Cuomo has loudly supported the enactment of some of

the nation’s harshest gun-control laws.11 But rather than debate opponents of his anti-gun



       7
            In an editorial dated December 17, 1999, the Washington Post described the Cuomo
campaign as “disquieting even for those who, like us, strongly support rigorous controls on
handguns.” The HUD Gun Suit, THE WASHINGTON POST (Dec. 17, 1999),
https://www.washingtonpost.com/archive/opinions/1999/12/17/the-hud-gun-suit/48ee0a45-18da-
4e8d-9b86-b9512172ae09/?utm_term=.9a74ce83f538. Anticipating themes that would continue
to characterize Cuomo’s gun-control efforts over the next nineteen years, the editorial board stated
that “it . . . seems wrong for an agency of the federal government” to put “pressure on an industry
. . . to achieve policy results the administration has not been able to achieve through normal
legislation or regulation.” Id.
       8
         See, e.g., House Blocks Money For Gun Pact, CBS NEWS (June 21, 2000, 11:58 PM),
https://www.cbsnews.com/news/house-blocks-money-for-gun-pact/.
       9
      HUD Archives: News Releases, HUD No. 00-150, COMMUNITIES FOR SAFER GUNS
COALITION JOINS CUOMO IN CRITICIZING EFFORT IN CONGRESS TO KILL THE
COALITION, U.S. DEP’T OF HOUS. AND URBAN DEV. (June 27, 2000, archived Dec. 13, 2009).
       10
           Remarks by Secretary Andrew Cuomo Handgun Control, Inc, Washington, D.C.
Tuesday, June 20, 2000, U.S. DEP’T OF HOUS. AND URBAN DEV. (Jan. 20, 2009),
https://archives.hud.gov/remarks/cuomo/speeches/handguncontrl.cfm.
       11
          See, e.g., Teri Weaver, Judge: NY must release Safe Act stats from assault weapons
registry, SYRACUSE (May 7, 2015, 9:09 PM), http://www.syracuse.com/news/index.ssf/
2015/05/judge_ny_must_release_safe_act_data_on_assault_weapons_registry.html.


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initiatives, he declared that conservative firearms advocates “have no place in the state of New

York.”12 Accordingly, Cuomo has sought to banish “the enemy” from public discourse altogether,

and remains dissatisfied with what he perceives to be the excessive political influence of

“conservatives and the Second Amendment types.”13

       18.     In truth, Cuomo bears distinct animus toward the NRA, which he accuses of

exerting a “stifl[ing] . . . stranglehold” over national gun policy.14 For Cuomo, weakening the

political advocacy of the NRA is a career strategy.

C.     Defendants Attempt To Chill The NRA’s Political Speech In Support Of Americans’
       Second Amendment Rights.

       19.     Against the backdrop of recent tragedies and a polarized public gun-control debate,

Cuomo and the other Defendants have abused their authority in an overt effort to stifle the NRA’s

political advocacy and to retaliate against the NRA for the effectiveness of that advocacy.

       20.     Together with former DFS Superintendent Vullo, his longtime lieutenant,15 Cuomo

embarked on a campaign to chill the political speech of the NRA and other so-called “gun


       12
          Heather Long, Conservatives aren’t welcome in New York, according to Governor
Cuomo, THE GUARDIAN (Jan. 14, 2014, 8:49 AM), https://www.theguardian.com/commentisfree/
2014/jan/24/governor-cuomo-conservatives-not-welcome-new-york.
       13
         YOUTUBE, Gov. Andrew Cuomo On Background Checks: “Bunch Of Boloney” | The
Beat With Ari Melber | MSNBC, https://www.youtube.com/watch?v=Tz8X07fZ39o (last visited
December 9, 2019).
       14
          Kenneth Lovett, Exclusive: Cuomo fires back at Jeb Bush for ‘stupid’ and ‘insensitive’
gun tweet, NY DAILY NEWS (Feb. 17, 2016), http://www.nydailynews.com/news/politics/cuomo-
blasts-jeb-stupid-insensitive-gun-tweet-article-1.2534528.
       15
          Cuomo and Vullo have worked together since at least 2006 when Vullo served as a “top
aide” to Cuomo in his role as attorney general. Cuomo nominated Vullo to be DFS Superintendent
approximately ten years later. Jimmy Vielkind, Cuomo nominates ex-aide to head Department of
Financial Services, POLITICO (Jan. 21, 2016, 5:14 AM), https://www.politico.com/states/new-
york/albany/story/2016/01/cuomo-nominates-ex-aide-to-head-department-of-financial-services-
030286.


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promotion” organizations by leveraging state power to punishing financial institutions which

maintain “business arrangements with the NRA.” To achieve this, Defendants draw upon the

formidable regulatory powers of DFS—an agency charged with ensuring the stability and integrity

of New York’s financial markets.

       21.     At Cuomo’s behest, Vullo and DFS have threatened regulated institutions with

costly investigations, increased regulatory scrutiny and penalties should they fail to

“discontinue[] . . . their arrangements with the NRA.”16 Many of the most pernicious of these

threats occurred privately. For example, beginning in February 2018, Vullo met personally with

executives of regulated institutions, including Lloyd’s.17 During the meetings she discussed an

array of technical regulatory infractions plaguing the affinity-insurance marketplace. Vullo made

it clear, however, that DFS was less interested in pursuing the infractions of which she spoke, so

long as Lloyd’s ceased providing insurance to gun groups, especially the NRA. The threat was

clear and unambiguous. Shortly thereafter, Defendants began to deliver on it. Within a single week,

DFS levied multi-million dollar fines against two insurance-industry firms that dared to do

business with the NRA. Under intense scrutiny, both firms, and later a third (together comprising

all the issuers of NRA-related policies for the NRA and its members), were coerced to terminate

their business arrangements with the NRA and its members—including arrangements having

nothing to do with the allegedly unlawful conduct cited by DFS.



       16
          GOVERNOR CUOMO DIRECTS DEPARTMENT OF FINANCIAL SERVICES TO
URGE COMPANIES TO WEIGH REPUTATIONAL RISK OF BUSINESS TIES TO THE NRA
AND SIMILAR ORGANIZATIONS, N.Y. STATE GOVERNOR ANDREW M. CUOMO (Apr. 19, 2018),
https://www.governor.ny.gov/news/governor-cuomo-directs-department-financial-services-urge-
companies-weigh-reputational-risk.
       17
          Vullo met with, and threatened, executives of Lloyd’s of London (“Lloyd’s”) and its
United States affiliate, Lloyd’s America, Inc, (“LAI”).


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       22.    Importantly, Defendants were fully aware by at least March 2018 (and likely

earlier) that non-NRA insurance policies exhibiting the same features were being marketed on

behalf of other affinity organizations. Defendants intentionally ignored such knowledge and did

not undertake enforcement actions relating to these other similarly constructed programs because

enforcing the Insurance Law was never their goal. Instead, as DFS explained to Lloyd’s in closed-

door meetings, the Cuomo administration sought to focus on “gun programmes” and gun advocacy

groups generally.

       23.    A DFS press release publicizing one enforcement action makes clear the gravamen

of Defendants’ campaign: financial institutions regulated by DFS must refrain from “[e]ntering

into any . . . agreement or arrangement,” which “involv[es] the NRA, directly or indirectly”18—or

face the consequences.

       1.     DFS And Its Regulatory Mission.

       24.    In 2011, as part of his state budget, Cuomo announced the merger of the New York

State Insurance Department and the Banking Department to create DFS. The mandate of the new

agency, which consolidated supervisory and enforcement powers previously vested in separate

departments, is to “reform the regulation of financial services in New York to keep pace with the




       18
           DFS FINES LOCKTON COMPANIES $7 MILLION FOR UNDERWRITING NRA-
BRANDED “CARRY GUARD” INSURANCE PROGRAM IN VIOLATION OF NEW YORK
INSURANCE LAW, N.Y. STATE DEP’T OF FIN. SERVS. (May 2, 2018),
https://www.dfs.ny.gov/about/press/pr1805021.htm; see also DFS FINES CHUBB
SUBSIDIARY ILLINOIS UNION INSURANCE COMPANY $1.3 MILION FOR
UNDERWRITING NRA-BRANDED “CARRY GUARD” INSURANCE PROGRAM IN
VIOLATION OF NEW YORK INSURANCE LAW, N.Y. STATE DEP’T OF FIN. SERVS. (May 7,
2018), https://www.dfs.ny.gov/about/press/pr1805071.htm.


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rapid and dynamic evolution of these industries, to guard against financial crises and to protect

consumers and markets from fraud.”19

       25.       The Superintendent of DFS has broad regulatory and enforcement powers, which

encompass the ability to initiate civil and criminal investigations and enforcement actions. In

addition, pursuant to Financial Services Law, Article 3, § 301, the DFS superintendent has the

power to refer matters to the attorney general for criminal enforcement. The creation of an agency

with such expansive prerogatives and capabilities “grab[bed] power and headlines,” and the New

York Times reported in 2015 that the first DFS superintendent, Benjamin Lawsky, was popularly

caricatured as “the new sheriff of Wall Street” and an all-powerful monarch (“King Lawsky”).20

       26.       New York Financial Services Law, Article 2, § 201, provides the superintendent of

DFS with formidable authority to, among other things, “ensure the continued solvency, safety,

[and] soundness” of banks and insurance companies.21 Accordingly, DFS directives regarding

“risk management” must be taken seriously by financial institutions—as risk-management

deficiencies can result in fines of hundreds of millions of dollars.

       27.       DFS’s regulatory mandate does not include setting gun-control policy. Nor does

any statute or other authority empower DFS to blacklist, from receipt of insurance or banking

services, speakers with political viewpoints objectionable to the governor or DFS superintendent.

In addition, DFS has no authority to engage in unlawful viewpoint discrimination.


       19
             N.Y.     STATE     DEP’T          OF     FIN.     SERVS.    (Dec.      12,    2017),
https://www.dfs.ny.gov/about/mission.htm.
       20
          Jessica Silver-Greenberg and Ben Protess, Benjamin Lawsky, Sheriff of Wall Street, Is
Taking     Off     His    Badge,    THE    NEW      YORK     TIMES    (May      20,     2015),
https://www.nytimes.com/2015/05/21/business/dealbook/benjamin-lawsky-to-step-down-as-
new-yorks-top-financial-regulator.html.
       21
            New York Financial Services Law Article 2, § 201 (“Declaration of Policy”).


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       2.      The NRA Depends Upon Essential Financial Services to Fulfill Its Advocacy
               Mission

       28.     The NRA’s direct-mail campaigns, digital media broadcasts, television and radio

communications, grassroots organizing, membership recruitment, and other core political speech

and associational activities are carried out by a combination of volunteers, employees, and

independent contractors engaged by the NRA and its affiliates. To meet payroll obligations,

purchase mailing materials and media airtime, maintain its Internet presence, and otherwise

continue to advocate for the Second Amendment of the United States Constitution, the NRA must

have the ability to process and retain cash, check, wire-transfer, and other donations from members

and events throughout the country, as well as transmit and apply these funds to meet operational

needs. Accordingly, the NRA relies upon depository services, cash management services, lockbox

services, disbursement services, wire-transfer services, and remote banking services of the type

generally offered by major wholesale banking institutions.

       29.     To continue its existence as a not-for-profit organization and fulfill its advocacy

objectives, the NRA also must maintain various corporate insurance coverage. General liability

and related “umbrella” coverage allow the NRA to maintain physical premises, convene off-site

meetings and events, and operate educational programs promoting the safe use of firearms which

are vital to the NRA’s mission. For its Annual Meeting, Great American Outdoor Show, and other

major rallies, conventions and assemblies with explicitly expressive purposes, the NRA generally

must also purchase event-specific coverage. Absent such coverage, the NRA could be forced to

cease circulation of various print publications and magazines.

       30.     In addition, like many affinity groups and organizations nationwide, the NRA seeks

to make life, health, and other insurance coverage available to its members on affordable, tailored

terms. To this end, the NRA contracted with multiple insurance-industry firms to develop, market,


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and underwrite insurance programs endorsed by the NRA. Pursuant to these arrangements, the

NRA performs none of the functions of an insurer. It does lend its valuable logos, marks, and

endorsements to insurance programs brokered and serviced by others. Such “affinity” insurance

plans are common and believed by many to be a suitable substitute for employer-based coverage.22

       31.     From 2000 onward, the NRA contracted with affiliates of the world’s largest

privately held insurance broker, Lockton Companies, LLC (collectively with pertinent affiliates,

“Lockton”),23 for affinity-program brokerage and administration services. Lockton has provided

services in the affinity-insurance market for decades and caters to a wide array of industries and

clients including franchises, professional and trade organizations, fraternal organizations, and

common-cause groups such as the NRA. For roughly seventeen years, Lockton entities

administered and marketed NRA-endorsed insurance in New York State and across the nation

without incident. In addition to its affinity-insurance transactions with the NRA, Lockton has also

served for decades as the NRA’s trusted insurance broker for various corporate coverage—such

as general liability, umbrella and director and officer insurance.

       32.     The NRA-endorsed affinity-insurance administered by Lockton consists primarily

of life, health, property, and casualty policies that mirror policies offered by Lockton to other

affinity groups. In addition, Lockton administers certain products, including a product known as

“Carry Guard,” that provide coverage for expenses arising out of the lawful self-defense use of a




       22
        See, e.g., Rachel Louise Ensign, Affinity-Group Plans, THE WALL STREET JOURNAL
(Sept. 11, 2011), http://online.wsj.com/article/SB10001424053111904836104576563341
686006336.html.
       23
         In particular, the NRA contracted with Lockton Affinity Series of Lockton Affinity, LLC
(f/k/a Lockton Risk Services, Inc.) (“Lockton Affinity”) and Kansas City Series of Lockton
Companies, LLC (“Lockton KC”).


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legally possessed firearm. Illinois Union Insurance Company (“Illinois Union”), a subsidiary of

Chubb Ltd., underwrote Carry Guard while doing business under the name “Chubb.”

       33.     The NRA has been the target of activist boycott efforts in the past, including

campaigns that urged insurance companies and other private actors to cease doing business with

the NRA. However, because these campaigns were carried out by non-governmental activist

groups who lack the government’s power to punish those who refused to join the boycott, their

methods have centered on persuasion—not coercion. Unaided by the brute force of state power,

activists never successfully persuaded the NRA’s banking or insurance partners to sever ties with

the NRA. This changed in 2017, when one activist organization successfully enlisted Defendants

in a joint effort to silence the NRA.

       3.      DFS Commences A Politically Motivated Investigation Focused Ostensibly on
               NRA-Endorsed “Affinity” Insurance.

       34.     During or about September 2017, a non-governmental activist organization known

as Everytown for Gun Safety (“Everytown”) contacted the New York County District Attorney’s

Office (the “DA’s Office”), as well as state and municipal authorities in other jurisdictions, in an

effort to prompt a crackdown by sympathetic government officials that would target alleged

compliance infirmities in Carry Guard. Notably, Everytown is not an organization dedicated to

insurance compliance; instead, its explicit political mission is to oppose the NRA.24 On September

13, 2017, representatives from the DA’s Office met with DFS to effectuate Everytown’s agenda.




       24
           Aaron Blake, Bloomberg launches new $50 Million gun control effort, THE
WASHINGTON POST           (Apr. 16, 2014), https://www.washingtonpost.com/news/post-
politics/wp/2014/04/16/bloomberg-aims-to-spend-50-million-on-gun-
control/?noredirect=on&utm_term=.703fe67ee197 (explaining that Everytown “will attempt to
combat the vast influence of the National Rifle Association”).


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       35.      As a result, in October 2017, DFS launched an investigation that focused ostensibly

on Carry Guard and was directed in the first instance at Lockton. On its website, Everytown took

credit for instigating the inquiry25—but even if it had not, the political underpinnings and selective

focus of the investigation were clear. The investigation was chronicled in the national media before

the NRA received official notice of it, and it targeted none of the available self-defense insurance

products except Carry Guard, which was endorsed by the NRA.

       36.     Of course, Carry Guard was not Defendants’ true focus, and the scope of the DFS

investigation rapidly expanded. At first, Defendants purported to target a discrete subset of so-

called “excess line” property and casualty policies relating to firearms—a category that

encompassed Carry Guard, but also included policies such as Gun Club Insurance and Hunt Club

Insurance. However, Defendants’ goal, from the outset, was to disrupt any and all business

arrangements between the NRA and any insurance administrator, broker, or underwriter—indeed,

any financial institution. Within weeks of commencing its investigation, DFS began to target

insurance programs that had nothing to do with firearms, and instead provided coverage similar or

identical to coverage endorsed by other New York affinity organizations such as the New York

State Bar Association, the New York City Bar, the National Association for the Self-Employed,

the New York Association of Professional Land Surveyors, and the New York State Psychological

Association.

       37.     DFS has not announced—even to this day—similar inquiries concerning any of

these other membership organizations, although their affinity programs involve most, if not all, of


       25
           Everytown, Moms Demand Action Statements Responding to Report That New York
Department of Financial Services is Investigating NRA Carry Guard Insurance, EVERYTOWN FOR
GUN SAFETY (Oct. 25, 2017), https://everytown.org/press/everytown-moms-demand-action-
statements-responding-to-report-that-new-york-department-of-financial-services-is-
investigating-nra-carry-guard-insurance/.


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the practices and features referenced by DFS in its investigation of the NRA’s affinity programs.

Instead, Defendants selectively targeted the NRA because of the NRA’s constitutionally protected

legislative and grassroots advocacy activities. Defendants specifically intend to undermine the

NRA’s ability to conduct its affairs in New York—and to advance Cuomo’s anti-NRA political

agenda.

          4.    Over The Course Of The Investigation, Cuomo And DFS Exhort Firms To
                Sever Ties With The NRA.

          38.   Throughout its purported investigation of Carry Guard in late 2017 and early 2018,

DFS communicated to banks and insurers with known or suspected ties to the NRA that they would

face regulatory action if they failed to terminate their relationships with the NRA. These

exhortations extended far beyond Carry Guard (the policy purportedly raising regulatory

concerns), indicating that any business relationship whatsoever with the NRA would invite adverse

action.

          39.   The impact of Defendants’ campaign on the NRA’s ability to access essential

financial services has been far greater than—and, clearly distinct from—the impact of any public

controversy relating to recent tragedies.

          40.   For example, during February 2018, the NRA issued a Request for Proposal

(“RFP”) to multiple banks, inviting them to submit bids to provide depository services, cash-

management services, and other basic wholesale banking services necessary to the NRA’s

advocacy. The NRA received enthusiastic responses from several banks.

          41.   Likewise, in early January 2018, the NRA began negotiating with a major DFS-

regulated insurance carrier (the “Corporate Carrier”) to renew its General Liability, Umbrella, and

Media Liability insurance coverage policies, which were set to expire during Spring 2018. Those




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negotiations remained on-course until the final days of February 2018, when Defendants sharply

escalated their threats.

        42.     On or about February 25, 2018, the Chairman of Lockton Companies, placed a

distraught telephone call to the NRA. Lockton had been a close business partner of the NRA for

nearly twenty years; its commitment to the parties’ business relationship had not wavered in

connection with the Parkland tragedy, nor the prior Sandy Hook tragedy, nor any previous wave

of public controversy relating to gun control. Nonetheless, although he expressed that Lockton

privately wished to continue doing business with the NRA, the chairman confided that Lockton

would need to “drop” the NRA—entirely—for fear of “losing [our] license” to do business in New

York.

        43.     On February 26, 2018, Lockton publicly tweeted that it would discontinue

providing brokerage services for all NRA-endorsed insurance programs.

        44.     Days later, the Corporate Carrier abruptly reversed its position in its corporate-

insurance-renewal negotiations with the NRA. Although it had previously indicated it would be

willing to extend the NRA’s General Liability and Umbrella coverage on favorable terms

consistent with the NRA’s favorable claims history, the Corporate Carrier now stated that it was

unwilling to renew coverage at any price. The Corporate Carrier severed mutually beneficial

business arrangements with the NRA because it learned of Defendants’ threats directed at Lockton

and feared it would be subject to similar reprisals.

        45.     Defendants soon supplemented their backchannel threats with official regulatory

“guidance.” In April 2018, Cuomo directed DFS to publicly “urge insurers and bankers statewide

to determine whether any relationship they may have with the NRA or similar organizations sends




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the wrong message to their clients and their communities who often look to them for guidance and

support.”26

       46.     On April 19, 2018, Vullo, as Superintendent of DFS, issued a pair of ominous

“guidance” letters (the “April 2018 Letters”) directed at the chief executive officers, or equivalents,

of all New York State chartered or licensed financial institutions and all insurers doing business in

New York. The April 2018 Letters urged recipients to sever ties with the NRA and other “gun

promotion organizations.”27 The directive was packaged in a sharply worded media advisory

meant to generate headlines—and apply maximum public pressure to the NRA and those with

whom it associates.

       47.     The April 2018 Letters are suffused with political concerns far afield from DFS’s

mandate to prevent financial crises and financial fraud. For example, they urge banks and insurers

to heed “the voices of the passionate, courageous, and articulate young people” speaking out in

favor of gun control, and to reconsider any business relationships with “the [NRA], and similar

organizations that promote guns and lead to senseless violence.” However, the April 2018 Letters

do not merely express Defendants’ own political opinions: they invoke the “risk management”


       26
          GOVERNOR CUOMO DIRECTS DEPARTMENT OF FINANCIAL SERVICES TO
URGE COMPANIES TO WEIGH REPUTATIONAL RISK OF BUSINESS TIES TO THE NRA
AND SIMILAR ORGANIZATIONS, N.Y. STATE GOVERNOR ANDREW M. CUOMO (Apr. 19, 2018),
https://www.governor.ny.gov/news/governor-cuomo-directs-department-financial-services-urge-
companies-weigh-reputational-risk, attached hereto as Exhibit A (the “Cuomo Press Release”).
       27
          Maria T. Vullo, Guidance on Risk Management Relating to the NRA and Similar Gun
Promotion Organizations, N.Y. STATE DEP’T OF FIN. SERVS. (Apr. 19, 2018),
https://www.dfs.ny.gov/legal/dfs/DFS_Guidance_Risk_Management_NRA_Gun_Manufacturers
-Insurance.pdf (addressed to the CEOs or equivalents of insurers doing business in the State of
New York), attached hereto as Exhibit B; Maria T. Vullo, Guidance on Risk Management Relating
to the NRA and Similar Gun Promotion Organizations, N.Y. STATE DEP’T OF FIN. SERVS. (Apr.
19,      2018),      https://www.dfs.ny.gov/legal/dfs/DFS_Guidance_Risk_Management_NRA_
Gun_Manufacturers-Banking.pdf (addressed to the CEOs or equivalents of New York State
chartered or licensed financial institutions), attached hereto as Exhibit C.


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obligations of recipients, and direct banks and insurers to “take prompt actions to manage”

purported “reputational risks” arising from “dealings with the NRA or similar gun promotion

organizations.”

       48.      Read in the context of the preceding months’ private communications—as well as

disclosures that would soon follow concerning consequences imposed on firms doing business

with the NRA—the April 2018 Letters were threats that deliberately invoked DFS’s “risk

management” authority to warn of adverse action if institutions failed to support Defendants’

efforts to stifle the NRA’s speech and to retaliate against the NRA based on its viewpoint.

       49.      Importantly, the April 2018 Letters contain no language clarifying that DFS would

forebear from directly enforcing the letters’ terms. Nor do the April 2018 Letters provide regulated

institutions with any objective criteria for measuring the “reputational risks” imposed by dealings

with entities that “promote guns that lead to senseless violence.” This is because Defendants

intended the April 2018 Letters to intimidate institutions into acceding to a political blacklisting

campaign and have nothing to do with the types of market “risks” properly regulated by DFS.

       50.      To further dispel any ambiguity surrounding the April 2018 Letters, Cuomo and

Vullo issued the contemporaneous Cuomo Press Release, containing and endorsing a statement by

Vullo that directly “urge[s] all insurance companies and banks doing business in New York to join

the companies that have already discontinued their arrangements with the NRA.”28




       28
            Ex. A.


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       51.      Likewise, on April 20, 2018, Cuomo publicly tweeted: “The NRA is an extremist

organization. I urge companies in New York State to revisit any ties they have to the NRA and

consider their reputations, and responsibility to the public.”29

       52.      The intended and actual effect of the April 2018 Letters, and the actions by Cuomo

and Vullo, is to coerce insurance agencies, insurers, and banks into terminating business

relationships with the NRA that were necessary to the survival of the NRA as a charitable

organization.

       53.      Third-party commentators immediately raised concerns about the First Amendment

implications of DFS’s actions. For example, on April 22, 2018, shortly after issuance of the April

2018 Letters, Brian Knight, a Senior Research Fellow and financial regulation expert at George

Mason University, published an article expressing alarm that the April 2018 Letters “appear[ed]

to be inherently about political speech,” and should be immediately withdrawn.30 In the face of

such criticism (and this litigation), Cuomo doubled down, declaring that a lawsuit which alleges

unconstitutional censorship of the NRA’s “dangerous agenda” means “you know you’re doing

something right.”31




       29
             Andrew Cuomo (@NYGovCuomo), TWITTER (Apr. 20, 2018, 8:58 AM),
https://twitter.com/NYGovCuomo/status/987359763825614848.
       30
        Brian Knight, Is New York using bank regulation to suppress speech?, FINREGRAG (Apr.
22,    2018),    https://finregrag.com/is-new-york-using-bank-regulation-to-suppress-speech-
ac61a7cb3bf.
       31
            Kenneth Lovett, NRA slapping Cuomo with lawsuit over blacklisting campaign,
violating First Amendment rights, NEW YORK DAILY NEWS (May 11, 2018),
http://www.nydailynews.com/news/politics/nra-slapping-cuomo-lawsuit-blacklisting-campaign-
article-1.3984861#; Andrew Cuomo (@NYGovCuomo), TWITTER (May 12, 2018, 8:50 AM),
https://twitter.com/NYGovCuomo/status/995330370592632832.


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D.     The Damage Done.

       1.        DFS Permanently Restricts Lockton From Doing Business With The NRA In
                 New York.

       54.       On May 2, 2018, two weeks after Vullo issued the April 2018 Letters, Lockton

entered into a consent order Under Articles 21, 23, and 34 of the Insurance Law (the “Lockton

Consent Order”) with DFS—signed by Vullo—which imposes a civil monetary penalty of $7

million.32 Although the Lockton Consent Order ostensibly addresses discrete violations by specific

Lockton entities of New York’s Insurance Law, its provisions go much further. Most notably, the

Lockton Consent Order purports to restrict Lockton’s participation in any NRA-endorsed

insurance programs in New York State, irrespective of whether such programs comply with the

Insurance Law.

       55.       Specifically, the Lockton Consent Order requires that Lockton agree “not to

participate in . . . any other NRA-endorsed programs with regard to New York State.” Nor may

Lockton “enter into any agreement or program with the NRA to underwrite or participate in any

affinity-type insurance program involving any line of insurance to be issued or delivered in New

York State or to anyone known to Lockton to be a New York resident.” As a result, Lockton is

prohibited from selling NRA affinity-insurance outside New York to any individual who maintains

a New York residence.

       56.       DFS and Vullo have no legal basis to restrict Lockton’s involvement with insurance

programs that do not violate New York’s Insurance Law; nor do they have authority to regulate

insurance transactions outside of New York. Nevertheless, DFS mandated that Lockton never enter




       32
            The Lockton Consent Order is attached hereto as Exhibit D.


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into any future agreements with the NRA for legitimate and fully compliant insurance programs

in New York.

        57.     Furthermore, Lockton would violate the Lockton Consent Order if it markets an

ordinary property, casualty, or life insurance policy in the State of New York that was accompanied

by an NRA logo or endorsement—notwithstanding that a comparable logo or endorsement

referencing any other affinity or common-cause organization is permissible. This provision of the

Lockton Consent Order is deliberate and intended to impair the NRA’s ability to negotiate

insurance benefits for its members, damage the NRA’s goodwill among its membership, and

unconstitutionally restrict the NRA’s speech on the basis of political animus.

        58.     Several of the purported “violations” assessed pursuant to the Lockton Consent

Order concern programs commonly engaged in by numerous additional affinity associations that

do not publicly advocate for Second Amendment rights and, therefore, are not targets of

Defendants’ unconstitutional conduct. Several such organizations are clients of Lockton—yet the

Consent Order does not compel Lockton to discontinue its purportedly unlawful conduct with

respect to these clients.

        59.     For example:

        •       DFS claims that Lockton Affinity violated Insurance Law § 2122(a)(1) by referring
                to the insurer’s AM Best rating. Yet, at the time this lawsuit was filed, Lockton
                Affinity’s affinity program for the American Optometric Association through
                AOAExcel (“AOAExcel”) touted the “backing of a carrier that is rated A+
                (Superior) by A.M. Best.33 Similarly, Lockton Affinity currently advertises that
                coverage for the affinity programs designed for the Veterans of Foreign Wars




        33
             Questions? We have answers for you.,                      AOAINSURANCEALLIANCE,
http://aoainsurancealliance.com/faq/ (last visited May 7, 2018).


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                  (“VFW”) and Moose International Inc. (“Moose”) was through companies “rated
                  ‘Excellent’ or higher by A.M. Best.”34

         •        DFS claims that Lockton Affinity violated Insurance Law § 2324(a) by giving or
                  offering to give no cost insurance to NRA members in good standing. Yet, Lockton
                  Affinity currently made that same offer to members of both the Professional
                  Photographers of America (“PPA”)35 and the VFW.36

         •        DFS claims that Lockton Affinity violated Insurance Law § 2116 by compensating
                  the NRA based on actual premiums collected. Yet, Lockton Affinity paid
                  AOAExcel, Moose, the VFW, the PPA, and dozens of other clients in the same or
                  similar manner.

         60.      Even if such conduct does violate insurance law, DFS’s selective enforcement of

such offenses as to NRA-endorsed policies—but not as to other policies marketed by Lockton in

an identical fashion—constitutes impermissible viewpoint discrimination and a denial of equal

protection under the law.

         61.      Despite the backlash concerning the expansive coercive scope and clear political

agenda of the April 2018 Letters, Defendants remained undaunted in their effort to deprive the

NRA of such services; as such, their overall messaging to financial institutions remained

unaffected. Indeed, the DFS press release publicizing the Lockton Consent Order trumpeted the

same concession by Lockton that had inspired its chairman’s furtive telephone call months before:




         34
            FVW Post Insurance Program, Program Information, VFW INSURANCE,
http://vfwinsurance.com/wp-
content/uploads/sites/29/2017/12/VFW_Post_Insurance_Information_Packet.pdf (last visited
May 7, 2018); MOOSE INSURANCE PROGRAM, http://mooseinsuranceprogram.com/ (last visited
May 7, 2018).
         35
              INSURANCE FOR PPA, https://insuranceforppa.com/ (last visited May 7, 2018).
         36
              VFW INSURANCE, http://vfwinsurance.com/life-insurance/#no-cost (last visited May 7,
2018).


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Lockton must “refrain from [e]ntering into any other agreement or arrangement . . . involving the

NRA, directly or indirectly”—including, but not limited to, affinity-insurance.37

         2.       DFS Purports To Prohibit Chubb From Doing Business With The NRA
                  Anywhere.

         62.      On May 7, 2018, Chubb Group Holdings, Inc. and Illinois Union (together,

“Chubb”) entered into a Consent Order Under Sections 1101 and 3420 of the Insurance Law (the

“Chubb Consent Order”) with DFS—signed by Vullo—which imposes a civil monetary penalty

of $1.3 million.38 Similar to the Lockton Consent Order, in the Chubb Consent Order, DFS

overextends its authority and purports to restrict Chubb’s participation in any affinity-type

insurance program with the NRA, irrespective of whether such programs comply with the

Insurance Law.

         63.      Although DFS restricted Lockton from participating in any affinity-type insurance

programs with the NRA in New York or with New York residents, Defendants’ restrictions in the

Chubb Consent Order contain no geographic constraint whatsoever. Instead, the Chubb Consent

Order purports to limit Chubb’s involvement with the NRA anywhere, and everywhere, in the

world.

         64.      Nevertheless, DFS allows Chubb to continue to underwrite affinity-type insurance

programs with other affinity or common-cause organizations that do not publicly advocate for

Americans’ Second Amendment rights, so long as Chubb undertakes “reasonable due diligence to




         37
          DFS FINES LOCKTON COMPANIES $7 MILLION FOR UNDERWRITING NRA-
BRANDED “CARRY GUARD” INSURANCE PROGRAM IN VIOLATION OF NEW YORK
INSURANCE LAW, N.Y. STATE DEP’T OF FIN. SERVS. (May 2, 2018),
https://www.dfs.ny.gov/about/press/pr1805021.htm.
         38
              The Chubb Consent Order is attached hereto as Exhibit E.


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ensure that any entity involved . . . is acting in compliance with the Insurance Law . . . .”39 The

only plausible explanation for the DFS’s complete exclusion of NRA-endorsed policies, even those

“in compliance with the Insurance Law,” is that Defendants seek to misuse DFS’s power to deprive

the NRA of insurance and financial services, on the sole ground that Defendants disapprove of the

NRA’s viewpoint regarding gun control.

       3.        Ignoring Identical Features of Comparable Affinity-Insurance Programs,
                 Defendants Impermissibly Targeted the NRA.

       65.       Beginning during the Fall of 2017, including through a subpoena issued to Lockton

and research supplied by Everytown, Defendants became aware of pervasive, colorable regulatory

infirmities affecting numerous affinity-insurance programs. For example, brokers such as Lockton

frequently paid success-based royalties to their affinity clients, which DFS would later assert

violated New York Insurance Law § 2116. Insurance coverage for the cost of psychological

counseling had become increasingly pervasive outside a standard health-insurance context, yet

DFS argues that providing such insurance violates New York Insurance Law § 2117. Similarly,

DFS takes the position that the financial condition or “rating” of an out-of-state, excess-line insurer

may not be advertised as a means to promote the policy—but this practice was common in the

affinity-insurance marketplace in 2017. And although New York Insurance Law § 3420 sets forth

various minimum requirements for liability insurance which protects persons and property, many

policies failed to meet those requirements. It is clear that confusion existed among brokers

regarding the mechanics of compliance with New York Insurance Law § 2118, which requires

brokers to secure declinations from authorized insurers before placing surplus-line insurance.




       39
            See Ex. E at ¶ 22.


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       66.     Confronted with a marketplace where brokerage practices frequently departed from

the regulators’ preferred reading of certain statutes, Defendants could have issued informative

guidance, or adopted an even-handed enforcement approach. Instead, Defendants selectively used

these purported infractions to target the NRA, while disregarding other instances of the same

conduct of which they were aware. (When Defendants did issue guidance letters to regulated

institutions in April 2018, the letters reflected their enforcement approach: ignore excess-line

declinations, out-of-state-carrier ratings, and other technical insurance-policy features while

“urging” financial institutions to cut ties with gun groups).

       67.     Although DFS’s investigation of the NRA, launched at Cuomo and Everytown’s

behest, had originally focused on Carry Guard, that changed by February 2018. In the aftermath

of the Parkland tragedy, Vullo met with senior executives of Lloyd’s and LAI, and presented

Defendants’ views on gun control and their desire to leverage their powers to combat the

availability of firearms, including specifically by weakening the NRA. These backchannel

meetings began on or about February 27, 2018, after Vullo spoke at a breakfast meeting of the

New York City Bar Association; participants included Vullo herself, along with Inga Beale of

Lloyd’s and Joseph Gunset of LAI.

       68.     Sometimes referred to as an insurance underwriter, Lloyd’s is actually an insurance

marketplace, composed of “members which underwrite insurance (each for their own account) as

members of syndicates.”40 Various supervisory bodies and boards within Lloyd’s set policies for



       40
          See Lloyd’s of London in Study for N.Y. Insurance Market, DealBook, N.Y. TIMES
(March 25, 2010), https://dealbook.nytimes.com/2010/03/25/lloyds-of-london-in-study-for-n-y-
insurance-market/; see also The Lloyd’s Market, LLOYD’S, https://www.lloyds.com/about-
lloyds/what-is-lloyds/the-lloyds-market     (last      visited     April       18,      2019),
https://www.lloyds.com/about-lloyds/what-is-lloyds/the-lloyds-market (describing the structure
of the Lloyd’s market). Entities known as “managing agents” manage the Lloyd’s syndicates on


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the Lloyd’s syndicates, and can issue directives that shape the availability of different types of

insurance worldwide. Like most of the insurance industry, Lloyd’s generally does not shy away

from providing insurance that may be controversial—for example, to this day, Lloyd’s syndicates

are permitted to underwrite coverage for religious sexual abuse liability.41 However, despite being

based in London, Lloyd’s is extremely sensitive to pressure from the New York regulators, and

concerned about “reputational risks” that may incur DFS’s disfavor. Since World War II, when

Lloyd’s sought to protect policyholders from the consequences of German attacks on England, all

premiums paid by Lloyd’s policyholders have deposited into trust funds in the State of New York,

through a structure known as the Lloyd’s America Trust Fund (“LATF”). The LATF is directly

regulated by DFS, and totals tens of billions of dollars—providing massive collateral for whatever

demands DFS may impose.42

       69.     During her surreptitiously held meetings with Lloyd’s executives that commenced

in February 2018, Vullo acknowledged the widespread regulatory issues in the excess-line

marketplace. Vullo and DFS made clear that Lloyd’s could avoid liability for infractions relating

to other, similarly situated insurance policies, so long as it aided DFS’s campaign against gun


behalf of Lloyd’s members. The individual Lloyd’s syndicates and managing agents that served
the NRA, and were targeted by DFS are: AUW 0609; BRT 2987; CNP 0958; CNP 4444; CSL
1084; GER 1206; KLN 0510; LIB 4472; ROC 1200; SAM 0727; AmTrust Syndicates Limited;
Argo Managing Agency Limited; Atrium Underwriters Limited; Brit Syndicates Limited;
Canopius Managing Agents Limited; Chaucer Syndicates Limited; Liberty Managing Agency
Limited; S.A. Meacock & Company Limited; Tokio Marine Kiln Syndicates Limited. All are
located in the United Kingdom.
       41
         See, e.g., http://www.britinsurance.com/~/media/files/us%20flyers%20new/public%20
entity%20%20non%20profit%20sir%20package.ashx.
       42
        See In re Lloyd's Am. Tr. Fund Litig., 928 F. Supp. 333, 336 (S.D.N.Y. 1996) (discussing
the LATF structure and certain relevant regulations administered by DFS’s predecessor agency,
the New York Department of Insurance).



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groups. Against the specter of this bold abuse of her position, Lloyd’s agreed that it would instruct

its syndicates to cease underwriting firearm-related policies and would scale back its NRA-related

business; in exchange, DFS would focus its forthcoming affinity-insurance enforcement action

solely on those syndicates which served the NRA, and ignore other syndicates writing similar

policies. The first step of this choreographed process was a letter from DFS to Gunset, an LAI

executive, sent on April 11, 2018.43

       70.        On May 1, 2018, Lloyd’s held a meeting of its Board of Directors. Among the

topics discussed at the meeting were




                                                          .46

       71.        On May 9, 2018, Lloyd’s sent a notice to its managing agents who are responsible

for all insurance policies written through the Lloyd’s marketplace (the “May 9 Notice”). 47 The


       43
            Ex. F and Sealed Exhibit B.
       44
            Ex. G and Sealed Exhibit C.
       45
            Id.
       46
            Id.
       47
            Ex. H and Sealed Exhibit D.


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May 9 Notice




                                                                                   48


       72.        Also on May 9, 2018, Lloyd’s publicly announced that it had directed its

underwriters to terminate all insurance related to the NRA and not to provide any insurance to the

NRA in the future, in the wake of DFS’s investigations into the NRA and its business partners.49

       73.        By June 30, 2018, the Lloyd’s managing agents and syndicates had provided

materials to DFS that DFS requested in the April 11, 2018 letter.

       74.        On December 20, 2018, ten Lloyd’s underwriters, acting through their managing

agents, entered into a Consent Order Under Sections 1102 and 3420 of the Insurance Law (the

“Lloyd’s Consent Order”) with DFS—signed by Vullo—which imposes a civil monetary penalty

of $5 million.50 Similar to the Lockton and Chubb Consent Orders, in the Lloyd’s Consent Order,

DFS overextends its authority and purports to restrict Lloyd’s participation in any affinity-type

insurance program with the NRA, irrespective of whether such programs comply with the

Insurance Law.51


       48
            Id.
       49
         See, e.g., Lloyd’s Underwriters Told to Stop Insurance Linked to NRA, THE NEW YORK
TIMES (May 9, 2018), https://www.nytimes.com/reuters/2018/05/09/business/09reuters-lloyds-of-
london-nra.html.
       50
            The Lloyd’s Consent Order is attached hereto as Exhibit I.
       51
            See Ex. I at ¶ 20.


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       75.    Pursuant to the conversations between Vullo and DFS with senior officials at

Lloyd’s and LAI described above, Lloyd’s was not subjected to any enforcement action and/or

penalties for any violation of the New York Insurance Law related to affinity-insurance programs,

other than in connection with the NRA-related insurance programs.

       76.    Importantly, Lloyd’s was not the only entity with direct exposure to DFS’s selective

enforcement scheme. DFS also became specifically cognizant of non-NRA policies that exhibited

the same purported defects as NRA policies—and chose to ignore those violations, targeting solely

the NRA—in the context of its Lockton investigation.




                                              DFS verbally conveyed to Lockton that it was only

interested in pursuing the NRA. Other programs exhibiting the same issues, DFS explained, could

be quietly remediated by Lockton after consent order and penalty targeting NRA programs had

been publicized.

       77.     Consistent with this agreement, on July 2, 2018, Lockton provided a report to DFS

regarding the status of its remediation efforts for non-NRA programs.




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          78.

                                                                                                 . In

response, DFS took no action whatsoever against any of Lockton’s non-NRA clients. On January

31, 2019, almost three months after this Court had sustained the NRA’s selective-enforcement

claims and permitted discovery regarding them, DFS entered into a Supplemental Consent Order

with Lockton that purported to admonish violations of the same statutes by Lockton’s non-NRA

clients, yet did not identify the clients by name or require Lockton to cease doing business with

them.52

          79.       DFS’s selective enforcement continues to this day. While taking no action against

any of Lockton’s other affinity clients, or the underwriters involved in those policies, DFS recently

subpoenaed an underwriter known as AGIA which backs health-insurance policies administered

and brokered by Lockton for the NRA. These policies have nothing to do with firearms and are

identical in all material respects to policies administered and brokered by Lockton on behalf of

non-NRA clients.




          52
               Ex. J.


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        4.     Defendants’ Actions Are Causing Other Financial Institutions To Re-Evaluate
               Their Relationships With The NRA For Fear Of Significant Adverse Action
               By Defendants.

        80.    Defendants’ concerted efforts to stifle the NRA’s freedom of speech and to retaliate

against the NRA based on its viewpoints are causing other insurance, banking, and financial

institutions doing business with the NRA to rethink their mutually beneficial business relationships

with the NRA for fear of monetary sanctions or expensive public investigations.

        81.    The NRA has encountered serious difficulties obtaining corporate insurance

coverage to replace coverage withdrawn by the Corporate Carrier. The NRA has spoken to

numerous carriers in an effort to obtain replacement corporate insurance coverage; nearly every

carrier has indicated that it fears transacting with the NRA specifically in light of DFS’s actions

against Lockton, Chubb, and Lloyd’s.

        82.    Defendants’ threats have also imperiled the NRA’s access to basic banking

services, despite the absence of any alleged regulatory violations in connection with the NRA’s

banking activities. Multiple banks withdrew their bids in the NRA’s RFP process following the

issuance of the April 2018 Letters, based on concerns that any involvement with the NRA—even

providing the organization with basic depository services—would expose them to regulatory

reprisals.

        83.    Defendants’ campaign is achieving its intended chilling effect on banks throughout

DFS’s jurisdiction. Speaking “on the condition of anonymity,” one community banker from

Upstate New York told American Banker magazine that in light of the apparent “politically

motivated” nature of the DFS guidance, “[i]t’s hard to know what the rules are” or whom to do

business with, because bankers must attempt to anticipate “who is going to come into disfavor




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with the New York State DFS” or other regulators.53 Other industry sources told American Banker

that, “such regulatory guidelines are frustratingly vague, and can effectively compel institutions to

cease catering to legal businesses.”54

       84.        The NRA has suffered tens of millions of dollars in damages based on Defendants’

conduct described above. Such damages include, without limitation, damages due to reputational

harm, increased development and marketing costs for any potential new NRA-endorsed insurance

programs, and lost royalty amounts owed to the NRA, as well as attorneys’ fees, legal expenses,

and other costs.

       85.        If the NRA is unable to collect donations from its members, safeguard the assets

endowed to it, apply its funds to cover media buys and other expenses integral to its political

speech, and obtain basic corporate insurance coverage, it will be unable to exist as a not-for-profit

or pursue its advocacy mission. Defendants seek to silence one of America’s oldest constitutional

rights advocates. If their abuses are not enjoined, they will soon, substantially, succeed.

                                                 V.

                                               CLAIMS

A.     Count One: Violation Of The NRA’s First And Fourteenth Amendment Rights Under
       42 U.S.C. § 1983, And Article 1, Section 8 Of The New York Constitution By The
       Establishment Of An Implicit Censorship Regime (As To All Defendants).

       86.        The NRA repeats and re-alleges each and every allegation in the preceding

paragraphs as though fully set forth herein.




       53
          Neil Haggerty, Gun issue is a lose-lose for banks (whatever their stance), AMERICAN
BANKER (Apr. 26, 2018, 1:11 PM), https://www.americanbanker.com/news/gun-issue-is-a-lose-
lose-for-banks-whatever-their-stance.
       54
            Id.


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       87.       The First Amendment, which applies to Defendants by operation of the Fourteenth

Amendment, and Section Eight of the New York Constitution secure the NRA’s right to free

speech, including its right to express its viewpoints and political beliefs regarding the

constitutionally protected right to keep and bear arms.

       88.       The NRA has a longstanding history of political advocacy advancing the Second

Amendment rights of all Americans. Although Cuomo and Vullo disagree with and oppose the

NRA’s political views, the NRA’s freedom to express its views with respect to the gun-control

debate is a fundamental right protected by the First Amendment.

       89.       Defendants have regulatory authority over financial institutions and insurance

entities that have done or are doing business with or are otherwise associated with the NRA,

including Chubb, Lockton, and Lloyd’s.

       90.       Defendants’ actions—including but not limited to the issuance of the April 2018

Letters and the accompanying backroom exhortations, the imposition of the Consent Orders upon

Chubb, Lockton and Lloyd’s, and the issuance of the Cuomo Press Release—established a “system

of informal censorship” designed to suppress the NRA’s speech.55

       91.       Defendants’ actions were for the purpose of suppressing the NRA’s pro-Second

Amendment viewpoint. Defendants undertook such unlawful conduct with the intent to obstruct,

chill, deter, and retaliate against the NRA’s core political speech.

       92.       Defendants’ unlawful exhortations to New York insurance companies, banks, and

financial institutions that they, among other things, “manag[e] their risks, including reputational

risks, that may arise from their dealings with the NRA . . ., as well as continued assessment of

compliance with their own codes of social responsibility[,]” as well as “review any relationships


       55
            Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 71 (1963).


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they have with the NRA[,]” and “take prompt actions to managing these risks and promote public

health and safety[,]” constitute a concerted effort to deprive the NRA of its freedom of speech by

threatening with government prosecution services critical to the survival of the NRA and its ability

to disseminate its message. Far from protected government speech, Defendants’ actions constitute

an “implied threat[ ] to employ coercive state power” against entities doing business with the NRA,

and they are reasonably interpreted as such.56

       93.      Defendants’ concerted efforts to stifle the NRA’s freedom of speech caused

financial institutions doing business with the NRA to end their business relationships, or explore

such action, due to fear of monetary sanctions or expensive public investigations. For example,

Defendants coerced and caused Lockton, Chubb, and Lloyd’s to cease their participation in NRA-

endorsed insurance programs, regardless of whether the insurance programs met all legal

qualifications under New York’s Insurance Law.

       94.      Defendants’ unlawful and intentional actions are not justified by a substantial or

compelling government interest and are not narrowly tailored to serve any such interest.

       95.      Defendants’ intentional actions resulted in significant damages to the NRA,

including but not limited to damages due to reputational harm, increased development and

marketing costs for any potential new NRA-endorsed insurance programs, and lost royalty

amounts owed to the NRA.

       96.      The NRA is also entitled to an award of attorneys’ fees and costs pursuant to 42

U.S.C. § 1988 and New York Civil Practice Law and Rules § 8601.

       97.      In addition to the above-described damages, absent an injunction against

Defendants, the NRA will suffer irrecoverable loss and irreparable harm if it is unable to acquire


       56
            Okwedy v. Molinari, 333 F.3d 339, 342 (2d Cir. 2003).


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insurance or other banking services due to Defendants’ actions. Accordingly, the NRA seeks an

order preliminarily and permanently enjoining Cuomo and Vullo (in their official capacities) and

DFS—including its officers, agents, servants, employees, and all persons in active concert or

participation with them who receive actual notice of the injunction—from threatening or

encouraging insurance companies, banks, or financial institutions to sever ties with or discontinue

services to the NRA.

B.     Count Two: Violation Of The NRA’s First And Fourteenth Amendment Rights
       Under 42 U.S.C. § 1983 And Article 1, Section 8 Of The New York Constitution By
       Retaliating Against The NRA Based On Its Speech (As To All Defendants).

       98.     The NRA repeats and re-alleges each and every allegation in the preceding

paragraphs as though fully set forth herein.

       99.     The First Amendment, which applies to Defendants by operation of the Fourteenth

Amendment, and Section Eight of the New York Constitution, secures the NRA’s right to free

speech, including its right to express its viewpoints and political beliefs regarding the

constitutionally protected right to keep and bear arms.

       100.    The NRA has a longstanding history of political advocacy advancing the Second

Amendment rights of all Americans. Although Cuomo and Vullo disagree with and oppose the

NRA’s political views, the NRA’s freedom to express its views with respect to the gun-control

debate is a fundamental right protected by the First Amendment.

       101.    Defendants’ actions—including but not limited to the issuance of the April 2018

Letters and the accompanying backroom exhortations, the imposition of the Consent Orders upon

Chubb, Lockton and Lloyd’s, and the issuance of the Cuomo Press Release—were in response to

and substantially caused by the NRA’s political speech regarding the right to keep and bear arms.

Defendants’ actions were for the purpose of suppressing the NRA’s pro-Second Amendment



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viewpoint. Defendants undertook such unlawful conduct with the intent to obstruct, chill, deter,

and retaliate against the NRA’s core political speech.

       102.    Defendants’ actions have concretely harmed the NRA by causing financial

institutions doing business with the NRA to end their business relationships, or explore such

action, due to fear of monetary sanctions or expensive public investigations. For example,

Defendants coerced and caused Lockton, Chubb, and Lloyd’s to cease their participation in NRA-

endorsed insurance programs in New York and elsewhere, regardless of whether the insurance

programs met all legal qualifications under New York’s Insurance Law.

       103.    Defendants had discretion in deciding whether and how to carry out their actions,

including but not limited to the types of demands imposed on Chubb, Lockton and Lloyd’s in the

Consent Orders, whether to issue the Cuomo Press Release, and the type of guidance provided in

the April 2018 Letters. They exercised this discretion to harm the NRA because of the NRA’s

speech regarding the Second Amendment.

       104.    Defendants’ unlawful and intentional actions are not justified by a substantial or

compelling government interest and are not narrowly tailored to serve any such interest.

       105.    Defendants’ intentional actions resulted in significant damages to the NRA,

including but not limited to damages due to reputational harm, increased development and

marketing costs for any potential new NRA-endorsed insurance programs, and lost royalty

amounts owed to the NRA.

       106.    The NRA is also entitled to an award of attorneys’ fees and costs pursuant to 42

U.S.C. § 1988 and New York Civil Practice Law and Rules § 8601.

       107.    In addition to the above-described damages, absent an injunction against

Defendants, the NRA will suffer irrecoverable loss and irreparable harm if it is unable to acquire



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insurance or other financial services due to Defendants’ actions. Accordingly, the NRA seeks an

order permanently enjoining Cuomo, Vullo, and DFS—including its officers, agents, servants,

employees, and all persons in active concert or participation with them who receive actual notice

of the injunction—from threatening or encouraging insurance companies, banks, or financial

institutions to sever ties with or discontinue services to the NRA.

C.     Count Three: Violation Of The Equal Protection Clause Of The Fourteenth
       Amendment Under 42 U.S.C. § 1983, And Article 1, Section 11 Of The New York
       Constitution (As To Vullo).

       108.    The NRA repeats and re-alleges each and every allegation in the preceding

paragraphs as though fully set forth herein.

       109.    Vullo knowingly and willfully violated the NRA’s equal protection rights by

seeking to selectively enforce certain provisions of the Insurance Law against Lockton’s affinity-

insurance programs for the NRA. Meanwhile, other affinity-insurance programs that were

identically (or at least similarly) marketed by Lockton, but not endorsed by “gun promotion”

organizations, have not been targeted by DFS’s investigation.

       110.    Vullo was aware during the investigations of the NRA and its business partners that

these other identical (or at least similar in all material respects) affinity-insurance programs had

the same legal infirmities that resulted in the penalties against Lockton, Chubb, and Lloyd’s related

solely to the NRA-related affinity-insurance programs. Specifically, Vullo was aware of these

comparators from her involvement in the conversations she had with senior officials of Lloyd’s in

the spring of 2018 described above.

       111.    Alternatively, Vullo should have known of similarly situated individuals at the time

DFS launched its investigation and any purported lack of knowledge was due to a “see-no-evil”

policy of enforcement, which Vullo and DFS abandoned solely to further their vendetta against



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the NRA. The “see-no-evil” enforcement policy was confirmed by DFS’s continued ignorance

toward the violations of the similarly situated comparators.

       112.    By virtue of the position held by Vullo at the time DFS launched its investigation,

Vullo knew the actions taken by DFS against NRA affinity insurance programs were

unprecedented. No other similarly situated programs have faced even close to the same treatment

for analogous violations. However, Vullo and DFS failed to inquire about whether there were any

other similarly situated affinity programs when the investigation was launched.

       113.    There is an extremely high level of similarity between the NRA-related affinity-

insurance programs and those of the comparator affinity-insurance programs, including

AOAExcel, Moose, the VFW, and the PPA, such that no rational person would perceive the NRA-

related programs to be different enough to justify the differential treatment by Vullo and DFS.

       114.    Vullo and DFS discriminated against the NRA and its business partners because of

Vullo’s personal animus toward the NRA and its Second Amendment advocacy.

       115.    The similarity between the NRA-related programs and the comparators and the

sharp differences in Vullo’s and DFS’s treatment of them are sufficient to exclude the possibility

that Vullo and DFS acted on the basis of a mistake.

       116.    Alternatively, there is at least a reasonably close resemblance between the NRA-

related affinity-insurance programs and those of the comparator affinity-insurance programs,

including AOAExcel, Moose, the VFW, and the PPA.

       117.    The disparate treatment of the NRA-related programs and the comparators was

caused by Vullo’s intent to punish and/or inhibit the NRA because of the NRA’s constitutionally

protected speech.




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       118.    Vullo’s selective enforcement of the Insurance Law against the NRA and its

business partners has been knowing, willful, arbitrary, capricious, unreasonable, discriminatory,

and undertaken in bad faith and without a rational basis. Vullo’s conduct does not further any

legitimate government interest.

       119.    Vullo’s selective enforcement of the Insurance Law against the NRA and its

business partners is based on the NRA’s political views and speech relating to the Second

Amendment. These considerations are impermissible bases for an enforcement action.

       120.    Vullo’s actions have resulted in significant damages to the NRA, including but not

limited to damages due to reputational harm, increased development and marketing costs for any

potential new NRA-endorsed insurance programs, and lost royalty amounts owed to the NRA.

       121.    The NRA is also entitled to an award of attorneys’ fees and costs pursuant to 42

U.S.C. § 1988 and New York Civil Practice Laws and Rules § 8601.

                                                VI.

                                  DEMAND FOR JURY TRIAL

       122.    The NRA hereby demands a trial by jury on all issues so triable.

                                                VII.

                                    REQUEST FOR RELIEF

       WHEREFORE the NRA respectfully requests that the Court enter judgment in the NRA’s

favor and against Defendants, as follows:

       a.      Declaring, pursuant to 28 U.S.C. § 2201, that Defendants have violated the NRA’s

rights to free speech and equal protection under both the Federal and New York Constitutions;

       b.      Granting a preliminary and permanent injunction, pursuant to 28 U.S.C. § 1651(a),

42 U.S.C. § 1983, and Rule 65 of the Federal Rules of Civil Procedure, ordering DFS, its agents,

representatives, employees and servants and all persons and entities in concert or participation with

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it, Cuomo (in his official capacity) and the current Superintendent of DFS (in her/his official

capacity):

               (1)     to immediately cease and refrain from engaging in any conduct or activity

                       which has the purpose or effect of interfering with the NRA’s exercise of

                       the rights afforded to it under the First and Second Amendment to the

                       United States Constitution and Section 8 to the New York Constitution; and

               (2)     to immediately cease and refrain from engaging in any conduct or activity

                       which has the purpose or effect of interfering with, terminating, or

                       diminishing any of the NRA’s contracts and/or business relationships with

                       any organizations;

         b.    Granting such other injunctive relief to which the NRA is entitled;

         c.    Awarding the NRA actual damages, including compensatory and consequential

damages, in an amount to be determined at trial;

         d.    Awarding the NRA exemplary or punitive damages;

         e.    Awarding the NRA pre-judgment and post-judgment interest at the highest lawful

rates;

         f.    Awarding the NRA such costs and disbursements as are incurred in prosecuting

this action, including reasonable attorneys’ and experts’ fees; and

         g.    Granting the NRA such other and further relief as this Court deems just and proper.

                                      Respectfully submitted,

                                      By:      /s/ Sarah B. Rogers
                                            William A. Brewer III (Bar No. 700217)
                                            wab@brewerattorneys.com
                                            Sarah B. Rogers (Bar No. 700207)
                                            sbr@brewerattorneys.com



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                               BREWER, ATTORNEYS & COUNSELORS
                               750 Lexington Avenue, 14th Floor
                               New York, New York 10022
                               Telephone: (212) 489-1400
                               Facsimile: (212) 751-2849

                               ATTORNEYS FOR THE NATIONAL RIFLE
                               ASSOCIATION OF AMERICA




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                              CERTIFICATE OF SERVICE

       I certify that on June 2, 2020, I caused a copy of the foregoing to be served upon the
following counsel electronically through the ECF system:

William A. Scott
Assistant Attorney General, Of Counsel
New York State Attorney General’s Office
Albany Office, The Capitol
Albany, New York 12224-0341
Email: William.Scott@ag.ny.com

Debra L. Greenberger
EMERY CELLI BRINCKERHOFF & ABADY LLP
600 Fifth Avenue,
New York, New York 10020
dgreenberger@ecbalaw.com


                                                         /s/ Sarah B. Rogers
                                                         Sarah B. Rogers




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